Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 1 of 8 PagelD: 21

SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.C.
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Phone (908) 751-5940

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Attorneys for Defendant

American Coradius International, L.L.C.

 

LUZ M. TAMAYO,
Plaintiff. SUPERIOR COURT OF NEW JERSEY
° LAW DIVISION — SPECIAL CIVIL PART,
HUDSON COUNTY
v.
DC-021040-11
AMERICAN CORADIUS

INTERNATIONAL, L.L.C., NOTICE OF FILING OF

NOTICE OF REMOVAL TO THE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Defendant.

Smee Name ee me nme ne me ee ee ee ee ee ee ee ee”

 

TO: Clerk of the Court
Superior Court of New Jersey
Law Division, Special Civil Part
Hudson County
595 Newark Avenue
Jersey City, NJ 07306

Yaakov Saks, Esq.

Law Offices of Matthew E. Rose
209 Main Street

Fort Lee, NJ 07024

Phone: (201) 482-8111 x136
Facsimile (201) 482-8190
Email: ysaks@theroselaw.com
Attorney for Plaintiff

Luz M. Tamayo
Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 2 of 8 PagelD: 22

PLEASE TAKE NOTICE that this action has been removed to the United States District
Court for the District of New Jersey. Attached hereto as Exhibit “1” is a copy of the Notice of
Removal filed in the United States District Court effecting such removal.

PLEASE TAKE FURTHER NOTICE that in accordance with 28 U.S.C. § 1446(d), the
Superior Court of New Jersey, Law Division — Special Civil Part, Hudson County, shall proceed
no further in this action unless and until the action is remanded by the United States District
Court for the District of New Jersey.

Dated: November 3, 2011

Respectfully submitted

Lhhe,

Aafon R. Easley, Esq.

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American Coradius International, L.L.C,
Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 3 of 8 PagelD: 23

CERTIFICATE OF SERVICE
[hereby certify that on this 3rd day of November 2011, a copy of the foregoing Notice of
Filing of Notice of Removal to the United States District Court for the District of New
Jersey was served by Federal Express upon the Clerk of the Court and via regular mail upon the
parties at the below addresses:

Clerk of the Court

Superior Court of New Jersey
Law Division, Special Civil Part
Hudson County

595 Newark Avenue

Jersey City, NJ 07306

Yaakov Saks, Esq.

Law Offices of Matthew E. Rose
209 Main Street

Fort Lee, NJ 07024

Phone: (201) 482-8111 x136
Facsimile (201) 482-8190

Email: ysaks@theroselaw.com
Attorney for Plaintiff

Luz M, Tamayo

Aaropk. Easley, Esq.
Attorney for Defendant
American Coradius Internation4l, L.L.C.
Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 4 of 8 PagelD: 24

EXHIBIT "1"
Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 5 of 8 PagelD: 25

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEW JERSEY

)
LUZ M. TAMAYO, )
)
Plaintiff, )

. ) NOTICE OF REMOVAL
AMERICAN CORADIUS
INTERNATIONAL, L.L.C.
)
Defendant. )
)

 

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441(b), and
1446, Defendant Amercian Coradius International, L.L.C. ("ACI"), by its attorney,
hereby removes this action from the Superior Court of New Jersey, Law Division —
Special Civil Part, Hudson County, to the United States District Court for the District
of New Jersey. In support of this Notice of Removal, ACI states as follows:

l. Plaintiff Luz M. Tamayo originally commenced this action by filing a
Complaint against ACI in the Superior Court of New J etsey, Law Division — Special
Civil Part, Hudson County, where it is presently captioned as Luz M. Tamayo y.
American Coradius International, L.L.C.., Docket No.: DC-021040- 11. No further
proceedings before the State court have occurred.

2. In the Complaint, Plaintiff alleges statutory causes of action against

ACI. A true and correct copy of Plaintiff's Complaint is attached hereto as Ex. “A.”
Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 6 of 8 PagelD: 26

3, Plaintiff accuses ACI of violating the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692, et seq.

4, ACI was served with Plaintiff’s Summons and Complaint on or about
October 6, 2011. -

5. This Court has federal question jurisdiction over Plaintiff's claim
pursuant to 28 U.S.C, §§ 1331 and 1441(b) in that the claims are “founded on a claim
or right arising under the . _ . laws of the United States...”

6, This Notice of Removal is timely, having been filed within thirty (30)
days of the date on which ACI was served with Plaintiff's Complaint See 28 U.S.C.
§ 1446, |

7. Written notice of this Notice of Removal of this action is being
immediately provided to the Superior Court of New Jersey, Law Division — Special
Civil Part, Hudson County. See Ex, “B.”

8, Written notice of this Notice of Removal of this action is being caused
. to be served on counsel for the Plaintiff.

WHEREFORE, Defendant American Coradius International, L.L.C. gives
notice that this action is removed from the Superior Court of New Jersey, Law

Division — Special Civil Part, Hudson County, to the United States District Court for

the District of New Jersey.
Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 7 of 8 PagelD: 27

Dated: November 3, 2011

Respecftully/subnfftted

4.

<=

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Fax: (908) 751-5944
aeasley(@sessions-law. biz

Attorney for Defendant

American Coradius International, L.L.C.
Case 2:11-cv-06549-JLL-MAH Document 1-1 Filed 11/04/11 Page 8 of 8 PagelD: 28

‘CERTIFICATE OF SERVICE
I hereby certify that on this 3rd day of November 2011, a copy of the
foregoing Notice of Removal to the United States District Court for the District of
New J ersey was served by Federal Express upon the Clerk of the Court and via regular
mail upon the parties at the below address: |

Yaakov Saks, Esq.

Law Offices of Matthew E. Rose
209 Main Street

Fort Lee, NJ 07024

Phone: (201) 482-8111 x136
Facsimile (201) 482-8190
Email: ysaks@theroselaw.com

Attorney for Plaintiff
By: | Ay,

Luz M, Tamayo
Adron R. Easley, Esq.

Attorney for Defendant
American Coradius International, L.L.C.
